                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION

                                  No. 5:14-CT-3173-H

ROBERT S. CHAMBERLAIN,
     Plaintiff,

      v.

SGT. SUGGS, ASST. UNIT
MANAGER WATSON, LT. RAYNOR,                                            ORDER
LT. GRIFFIN, C/O HUNTER, C/0
WELCH, SGT. YOUNG, C/O
CHRISTIAN, and SHEMINSKI
JONES,
     Defendants. 1


        This matter is before the court on defendants Sgt.                              Suggs,

Asst.      Unit Manager Watson,         Lt.    Raynor,   Lt.     Griffin,      C/0 Hunter,

C/0     Welch,     Sgt.     Young,     C/0    Christian,       and     Sheminski        Jones'

Motion      for    Summary      Judgment.      [D.E.     #91].       The     clerk     sent    a

Roseboro        Letter to      plaintiff on September            28,       2015.     Plaintiff

has not filed a response, and the time for filing a response has

expired. This matter is ripe for adjudication.

                                        BACKGROUND

        Plaintiff        complains    of violations        committed by defendants

while      he    was   formerly      incarcerated as       a   pretrial        detainee       at

Central         Prison    in   Raleigh,       North    Carolina.        In     his    amended

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  Defendants Mr. Harris, Timothy Finn, Lori Florence, and Dr. Abdul Foiz M.
Hossain Imam were terminated as parties to this matter following this court's
September 23,   2015,  order dismissing plaintifP s    claims against them.
"Defendants" as used herein shall refer only to the movants in the instant
motion for summary judgment, who constitute all remaining defendants in this
matter.




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complaint,       plaintiff alleges he suffered various injuries as a

result    of     excessive           force        and        deliberate         indifference          to    his

medical       needs     by     defendants.               The    court       incorporates            relevant

parts of the           factual        summary found in its September 23,                                  2015,

order     related         to         plaintiff's               allegations             in     this        case.

Defendants now move for summary judgment.

                                       COURT'S DISCUSSION

        Summary judgment is appropriate pursuant to Rule 56 of the

Federal       Rules      of     Civil        Procedure            when      no       genuine        issue       of

material        fact     exists        and         the        moving       party       is    entitled           to

judgment as        a matter of law.                    Anderson v.              Liberty Lobby,            Inc.,

477    U.S.     242,     247        (1986).        The       party     seeking        summary        judgment

bears     the    initial            burden        of     demonstrating            the       absence        of     a

genuine issue of material                         fact.       Celotex Corp.            v.    Catrett,           477

u.s. 317, 325 (1986).
        Once the moving party has met                             its burden,              the non-moving

party     may     not     rest        on      the        allegations            or     denials       in     its

pleading, Anderson,                 477 U.S. at 248, but "must come forward with

'specific        facts        showing        that         there       is    a     genuine       issue       for

trial. '"       Matsushita           Elec.         Indus.       Co. ,      Ltd.       v.     Zenith       Radio

Corp., 475 U.S. 574, 587                   (1986)            (quoting Fed. R. Civ. P. 56(e)).

Summary       judgment         is    not      a    vehicle           for   the       court     to     resolve

disputed factual issues. Faircloth v. United States, 837 F.Supp.

123,    125     (E.D.N.C.           1993).        Instead,        a     trial        court    reviewing           a

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claim at the summary judgment stage should determine whether a

genuine issue exists for trial. Anderson, 477 U.S. at 249.

        In    making         this        determination,                the     court        must       view    the

inferences          drawn     from        the    underlying              facts       in     the    light most

favorable        to    the     non-moving          party.              United       States        v.   Diebold,

Inc.,     369       U.S.     654,        655     (1962)           (per       curiam) .       Only      disputes

between the parties over facts that might affect the outcome of

the     case        properly        preclude        the           entry        of     summary          judgment.

Anderson,       477     U.S.        at    247-48.       The        evidence must              also be         such

that a reasonable jury could return a verdict for the non-moving

party. Id. at 248. Accordingly, the court must examine "both the

materiality and the genuineness of the alleged fact issues" in

ruling on this motion.                    Faircloth, 837 F.Supp. at 125.

        The court has carefully reviewed the entire record in this

matter,       including the               complaint,          the motion              and memorandum in

support       of      defendants'          motion           for     summary          judgment,          and    the

supporting affidavits. The court finds the memorandum in support

of      summary         judgment           to      be        thorough               and      well-reasoned.

Furthermore,           the    court        notes    plaintiff                has     come     forward         with

nothing        to     dispute        the        version           of     the        facts     submitted         by

defendants via affidavits. Therefore, the court finds no genuine

issues of material fact exist and that,                                      for the reasons stated

in defendants'             memorandum,           defendants              are entitled to                judgment

as a matter of law.

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                                 CONCLUSION

     For    the   foregoing   reasons,       defendants'   motion   for   summary

judgment,    [D. E.   #91], is GRANTED. The clerk is directed to close

this case.


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     This    ~ day of April 2016.




                              Senior United                District Judge

At Greenville, NC
#34




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